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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
                                JUDGE R. BROOKE JACKSON


Civil Action:            20-cv-01485-RBJ                      Date: November 15, 2021
Courtroom Deputy:        Julie Dynes                          Court Reporter: Sarah Mitchell

               Parties                                                    Counsel

KEITH CLINGMAN                                                     Christopher Anderson
                                                                       Penn Dodson
                         Plaintiff

v.

DRIVE COFFEE LLC                                                      Jennifer Cohen
DRIVE COFFEE INC                                                        Lisa Nobles
ALEX GRAPPO
                Defendant



                                      COURTROOM MINUTES


JURY TRIAL DAY ONE

Court in Session: 8:47 a.m.

Appearance of counsel.

Discussion held on length of trial.

9:07 a.m.      Twenty-four (24) potential jurors are brought to the Court with thirteen (13)
               seated by random computer selection.

Court’s preliminary remarks to jurors.

Court’s statement of the case to jurors.

Court advises jury panel regarding its jury selection practice.

All jurors sworn for voir dire.

Attorneys and parties are introduced.
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9:30 a.m.       Voir dire of the jury panel by the Court.

9:38 a.m.       Voir dire of the jury panel by Mr. Anderson.

9:52 a.m.       Voir dire of the jury panel by Ms. Nobles.

Plaintiff’s Peremptory Challenges:

1.      100455070
2.      100461870
3.      100434372

Defendant’s Peremptory Challenges:

1.      100471691
2.      100469167
3.      100424580

10:05 a.m.      Seven jurors sworn to try the case:

1.      100447902
2.      100446580
3.      100434414
4.      100430154
5.      100436233
6.      100429349
7.      100446655

Court instructs the jury on its practices for trial.

Jury excused.

10:14 a.m.      Court in recess.
10:27 a.m.      Court in session – jury not present.

Discussion held on ECF Nos. 59 and 60.

Jury escorted in.

10:32 a.m.      Opening statement by Mr. Anderson.

11:09 a.m.      Opening statement by Ms. Nobles.

Plaintiff, Keith Clingman, called and sworn.
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11:28 a.m.      Direct examination of Mr. Clingman by Mr. Anderson.
                Exhibits 4, 5, 7, 8 and 19 are admitted.

12:02 p.m.      Court in recess – jury escorted out.
1:04 p.m.       Court in session - jury not present.

Discussion held on witnesses in the courtroom.

ORDERED: Witness sequestration order issued.

Jury escorted in.

1:06 p.m.       Continued direct examination of Mr. Clingman by Mr. Anderson.
                Exhibits 18, 22, 27, 29, 30, 48 (p.503), 55, 57, 60, 61 are admitted.

1:55 p.m.       Cross examination of Mr. Clingman by Ms. Nobles.
                Exhibits D, J and K are admitted.

2:47 p.m.       Court in recess – jury escorted out.
3:01 p.m.       Court in session - jury escorted in.

3:02 p.m.       Continued cross examination of Mr. Clingman by Ms. Nobles.
                Exhibit G is admitted.

3:16 p.m.       Redirect examination of Mr. Clingman by Mr. Anderson.

Plaintiff’s witness, Sarah Mortzfield, called and sworn.

3:33 p.m.       Direct examination of Ms. Mortzfield by Mr. Anderson.
                Exhibits 40 and 41 are admitted.

3:54 p.m.       Cross examination of Ms. Mortzfield by Ms. Nobles.

4:04 p.m.       Redirect examination of Ms. Mortzfield by Mr. Anderson.

Jury excused.

Discussion held on the availability of the plaintiff’s witness.

4:07 p.m.       Court in recess.
4:12 p.m.       Court in session – jury escorted in.

Plaintiff’s witness, Alex Grappo, called and sworn.
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4:13 p.m.     Direct examination of Mr. Grappo by Mr. Anderson.
              Exhibits 62 and 63 are admitted.

Jury excused, to return tomorrow at 9:00 a.m.

Discussion held on jury instructions and remote witness testimony.

Court in Recess: 4:52 p.m.          Trial continued.                 Total time in Court: 06:31
